                         Case 5:22-cv-02638-BLF Document 21-5 Filed 06/30/22 Page 1 of 2



                    1   COOLEY LLP
                        WHITTY SOMVICHIAN (194463)
                    2   (wsomvichian@cooley.com)
                        AUDREY J. MOTT-SMITH (300550)
                    3   (amottsmith@cooley.com)
                        3 Embarcadero Center, 20th Floor
                    4   San Francisco, California 94111-4004
                        Telephone:    +1 415 693 2000
                    5   Facsimile:    +1 415 693 2222
                    6   MICHELLE C. DOOLIN (179445)
                        (mdoolin@cooley.com)
                    7   4401 Eastgate Mall
                        San Diego, California 92121-1909
                    8   Telephone:    +1 858 550 6000
                        Facsimile:    +1 858 550 6420
                    9

                   10   Attorneys for Defendant
                        GOOGLE LLC
                   11

                   12                                 UNITED STATES DISTRICT COURT

                   13                             NORTHERN DISTRICT OF CALIFORNIA

                   14

                   15   JENNY HOUTCHENS, et al.,                      Case No. 5:22-cv-02638-BLF

                   16                    Plaintiff,                   DECLARATION OF AUDREY J. MOTT-
                                                                      SMITH IN SUPPORT OF DEFENDANT
                   17          v.                                     GOOGLE LLC’S MOTION TO COMPEL
                                                                      ARBITRATION, OR, ALTERNATIVELY,
                   18   GOOGLE LLC,                                   MOTION TO DISMISS PLAINTIFFS’ CLASS
                                                                      ACTION COMPLAINT AND REQUEST FOR
                   19                    Defendant.                   JUDICIAL NOTICE

                   20                                                Date:        October 6, 2022
                                                                     Time:        9:00 a.m.
                   21                                                Courtroom:   3
                                                                     Judge:       Hon. Beth Labson Freeman
                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                            MOTT-SMITH DECL. ISO MTN. TO COMPEL
 SAN FRANCISCO                                                                   ARB. OR DISMISS COMPL., AND RJN
                                                                                      CASE NO. 5:22-CV-02638-BLF
                          Case 5:22-cv-02638-BLF Document 21-5 Filed 06/30/22 Page 2 of 2



                    1               I, Audrey J. Mott-Smith, hereby declare as follows:
                    2               1.     I am an attorney admitted to practice law in the State of California and before this
                    3   Court. I am an associate at the law firm Cooley LLP, and counsel for Defendant Google LLC
                    4   (“Google”). I have personal knowledge of the facts set forth below and, if called to testify, could
                    5   and would testify competently thereto.
                    6               2.     On June 14, 2022, Counsel for Google, including myself, telephonically met and
                    7   conferred with Plaintiffs’ counsel and explained that Google intends to file a motion to compel
                    8   arbitration in response to Plaintiffs’ Complaint. Following that conversation and subsequent
                    9   correspondence regarding the timing for raising additional 12(b)(6) issues in response to Plaintiffs’
                   10   Complaint, I emailed Plaintiffs’ counsel on July 27, 2022 to confirm whether Plaintiffs would agree
                   11   to voluntarily submit their claims to arbitration per the Parties’ agreement and dismiss this lawsuit
                   12   in this Court. As of the date of filing this declaration, Plaintiffs’ counsel had not responded.
                   13               3.     Attached hereto as Exhibit D is a true and correct copy of the American Arbitration
                   14   Association’s (“AAA’s”) Commercial Arbitration Rules, as currently available from the AAA
                   15   website at http://www.adr.org/sites/default/files/CommercialRules_Web-Final.pdf.
                   16               I declare under penalty of perjury that the foregoing is true and correct.
                   17               Executed on June 30, 2022 in San Francisco, California.
                   18

                   19   Dated: June 30, 2022                                      COOLEY LLP
                   20

                   21                                                             By: /s/ Audrey J. Mott-Smith
                                                                                      Audrey J. Mott-Smith
                   22
                                                                                  Attorney for Defendant
                   23                                                             GOOGLE LLC
                   24

                   25

                   26

                   27
                        271320188
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                           MOTT-SMITH DECL. ISO MTN. TO COMPEL
 SAN FRANCISCO                                                                2                 ARB. OR DISMISS COMPL., AND RJN
                                                                                                      CASE NO. 22-CV-02638-SVK
